                                      UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF ALABAMA
                                              NORTHERN DIVISION

In the Matter of:                                                 }
                                                                  }
GARY COOPER                                                       }      Case No. 18-82436-CRJ-13
SSN: XXX-XX-1726                                                  }
                                                                  }
                                        Debtor(s)                 }      Chapter 13
                                                                  }
GARY COOPER
                                                                  }
                                                                  }
                                          Plaintiff(s)            }
vs.                                                               }      AP Case No. 19-80071-CRJ
                                                                  }
AVADIAN CREDIT UNION and                                          }
BSI FINANCIAL SERVICES                                            }
                                                                  }
                                          Defendant(s)            }
                                                                  }

                  ORDER ON MOTION BY DEFENDANTS FOR JUDGMENT ON THE PLEADINGS

                    The Adversary Proceeding came before the Court on December 3, 2019 upon Motion by

         Defendants for Judgment on the Pleadings and Plaintiff’s Response. Appearing at the hearing were John

         Larsen, Esq., counsel for the Plaintiff; Timothy Pitman, Esq., counsel for Defendants; and Michele T.

         Hatcher, Esq., Chapter 13 Trustee.

                    The Court considered the pleadings and arguments of and for the reasons stated on the record, it is

         hereby

                    ORDERED, ADJUDGED AND DECREED as follows:

             1. The Motion for Judgment on the Pleadings is hereby APPROVED, in part, and Counts I, II, III of

                    the Amended Complaint are hereby DISMISSED.

             2. The Motion for Judgment on the Pleadings is hereby DENIED as to Count IV.

         Dated this the 5th day of December, 2019.

                                                                      /s/ Clifton R. Jessup, Jr.
                                                                      Clifton R. Jessup, Jr.
                                                                      United States Bankruptcy Judge




        Case 19-80071-CRJ              Doc 46     Filed 12/05/19 Entered 12/05/19 11:14:35                Desc Main
                                                  Document     Page 1 of 1
